      Case 5:15-cv-00048 Document 10 Filed in TXSD on 06/17/15 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                    LAREDO DIVISION

ROBERTO MARTINEZ                                   §
    PLAINTIFF,                                     §
                                                   §
VS.                                                §
                                                   §   CIVIL ACTION NO. 5:15:CV-00048
ASI LLOYDS, SHANON WATSON AND                      §   JURY
ADAM ANDERSON                                      §
      DEFENDANTS.                                  §
                                                   §

                                  NOTICE OF SETTLEMENT


TO THE HONORABLE JUDGE OF SAID COURT:

        Plaintiff files this Notice of Settlement, and respectfully notifies the Court as follows:

        1)     On June 12, 2015, Plaintiff and Defendants entered into an agreement to settle

this case.

        2)     The parties anticipate a Settlement Agreement will be signed by all parties within

60 days, if not before.

        3)     The parties anticipate that the Agreed Stipulation of Dismissal With Prejudice

will be filed with the Court within 60 days.

                                               Respectfully submitted,

                                               MOSTYN LAW

                                               /s/ René M. Sigman
                                               René M. Sigman
                                               State Bar No. 24037492
                                               Federal No. 900984
                                               3810 W. Alabama Street
                                               Houston, Texas 77027
                                               (713) 714-0000 (Office)
                                               (713) 714-1111 (Facsimile)

                                               ATTORNEY FOR PLAINTIFFS

                                 CERTIFICATE OF SERVICE
      Case 5:15-cv-00048 Document 10 Filed in TXSD on 06/17/15 Page 2 of 2




        I hereby certify that a true and correct copy of the foregoing instrument has been served
on all counsel of record, pursuant to the Federal Rules of Civil Procedure, on this the 16th day of
June, 2015, as follows:



                                             /s/ René M. Sigman
                                             René M. Sigman
